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                                UNITED STATES DISTRICT COURT

                                  DISTRICT OF CONNECTICUT



JOHN ELEJALDE                         :

         v.                           : NO. 3:99CR85(EBB)

UNITED STATES OF AMERICA              :



               RULING ON MOTION TO COMPEL [NOTICE OF RIPENESS]

       Petitioner John Elejalde has moved this court for “ripeness for hearing” with respect to a

motion he filed under 28 U.S.C. § 2255 on February 16, 2005, [Doc. No. 1429] alleging he has

received no answer or other indication that his motion was acted upon. On February 24, 2005,

this court denied the motion.

       Therefore, the pending motion [Doc. No. 1533] is denied as moot.

                                      SO ORDERED.



                                      __________________________________
                                      ELLEN BREE BURNS, SENIOR JUDGE
                                      UNITED STATES DISTRICT COURT

       Dated at New Haven, CT, this ___ day of May, 2007.
